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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

CASE No. 9:16-cv-81871-KAM
LAN LI, an individual, et al.,

Plaintiffs,
Vs.

JOSEPH WALSH, an individual, et al.,

Defendants.
/

 

DEFENDANT/CROSSCLAIMANT, KK-PB FINANCIAL, LLC’S
RESPONSE TO ROBERT V. MATTHEWS AND
MARIA 8S. MATTHEWS MOTION TO DISMISS CROSSCLAIMS

 

Defendant/Crossclaimant KK-PB Financial, LLC (“KK-PB”)
responds to Crossdefendants, Robert V. Matthews and Maria S. Matthews
a/k/a Mia Matthews’ (collectively “Matthews”), Motion to Dismiss KK-
PB’s Crossclaims (DE 362), attached hereto as Appendix 1, and states as
follows:

Preliminary Statement

1. KK-PB’s Crossclaims against the Matthews arise out of the
Matthews’ role as ring leader and mastermind in the purchase, funding and
dissipation of millions of dollars of funds intended for the real property and
improvements at the Palm House Hotel Property. The Matthews’ schemed
to induce KK-PB to accept a Twenty-Seven Million Seven Hundred Sixty-

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Eight Thousand Seven Hundred Fifty Dollar ($27,768,750.00) Promissory
Note secured by a Mortgage on the Palm House Hotel Property, and then the
entity controlled by them defaulted on the loan. The Matthews’ unlawful
actions, with their attorney Leslie Robert Evans, and their business
associate, Joseph Walsh are detailed in the March 14, 2018, 20-Count
Indictment (the “Indictment”), attached to and incorporated in the KK-PB
Crossclaims as Exhibit A (DE 326-1) and the August 3, 2018 Securities and
Exchange Complaint (“SEC Complaint”), Exhibit B to the KK-PB
Crossclaims (DE 326-1, pg. 33). It is KK-PB’s position that the allegations
of the Crossclaims, along with the matters incorporated by reference as
alleged in the Indictment and SEC Complaint state a claim against each of
the Matthews for the KK-PB’s Crossclaims.

Crossclaims Counts 1 —5

(Appendix 1)

2. KK-PB has filed five (5) Crossclaims against Matthews’ (De
326) Crossclaims I, IT and JII are against Robert V. Matthews; Crossclaim
Count IV is against both, Robert V. Matthews and Maria S. Matthews;
Crossclaim Count V is against Maria Matthews. Crossclaim Count III, for
Civil Conspiracy, involves Robert V. Matthews’ actions in relation to other
Crossclaim Defendant Evans (DE 317), the attorney who closed the

transaction involving the Mortgage and Note for the Palm House Hotel

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Property. Based upon the matters alleged in the recent Indictment and SEC
Complaint, attached to KK-PB’s Crossclaims, as Exhibits A & B, the funds
Robert V. Matthews and Evans manipulated and stole, appear to be, the
same Funds which were to pay on the Mortgage and Note on the Palm
House Hotel, and the funds used to buy the vessel the Alibi, for Maria
Matthews, were the funds which should have been used to pay the
Promissory Note owing to KK-PB.
Procedural Background

3. On August 22, 2018, KK-PB filed its’? Motion for Order
Granting Leave to File Crossclaims against Defendant Robert V. Matthews
and Maris S. Matthews, with proposed Crossclaims attached (DE 314).

4. On September 6, 2018, the Matthews filed their opposition to
KK-PB’s Motion for Leave to File Crossclaims (De 318). The Matthews’
Response, Section III, B — D, argued substantially the same matters that the
Matthews now assert in their Motion to Dismiss (DE 318, pages 5 — 11).

5. On September 12, 2018, KK-PB filed its’ Reply (DE 319) to
the Matthews Response in Opposition to KK-PB’s Motion for Hearing to
File Crossclaims.

6. On October 9, 2018, this Court entered its’ Order (DE 325)
Granting Leave to KK-PB to File Crossclaims. At page 3 of the Order, the

Court addresses the Matthews’ failure to state a claim argument set forth in

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the Matthews’ Opposition to KK-PB’s Motion for Leave. The Court states:
“The Matthews Defendants’ argument primarily focuses

on the failure to comply with Rule 9(b)’s heightened pleading

requirements. Even assuming that the claims did not comply

with Rule 9(b), the court would permit leave to amend and

would not dismiss the claims initially based on futility. In any

event, given the complexity of this case, and the multiple

parties and claims, the futility argument is simply premature at

this stage of the proceedings.”

7. On October 11, 2018, KK-PB filed its’ Notice of Filing
Crossclaims with Crossclaims attached (DE 326 and 326-1)

Argument
The Legal Standard for a Motion to Dismiss

8. Rule 8(a)(2) Fed. R. Civ. P. requires “a short and plain
statement of the claim, showing the pleader is entitled to relief.” In Bell
Atlantic Corp. vs. Twinsburg, 550 US 544, 555 (2007) the Supreme Court
held that while a complaint attacked by a Rule 12(b)(6) motion to dismiss
does not need detailed factual allegations, a plaintiff’s obligation to provide
the grounds of his entitlement to relief require more than labels and
conclusions. Factual allegations must be enough to raise a right of relief
above the speculative level. To survive a motion to dismiss, a complaint
must contain sufficient factual matter, accepted as true, to state a claim for

relief that is plausible on its facts. Ashcroft vs. Igbal, 129 S. CT. 1937, 1949

(2009). A claim has factual plausibility when the plaintiff pleads factual

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content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged. When considering a motion
to dismiss, the court must accept all of the plaintiffs’ allegations, as true, in
determining whether a plaintiff has stated a claim for which relief could be
granted. Hishon vs. King & Spalding, 467 US 69, 73 (1984).

9. The Matthews erroneously argue that KK-PB’s Counts IJ and II
do not meet the pleading requirements of Rule 9(b). As this Court
previously pointed out in denying the Motions to Dismiss the Plaintiffs’
fraud claims, in this case, the Court rejected that the Complaint must
provide the date, time and place of the fraud (DE 164, pg. 11). The Court
went on to state that while the Court recognizes these types of details satisfy
the Rule 9(b) pleading requirements, the Eleventh Circuit has acknowledged
that alternative means are available to satisfy the Rule, citing to Durham vs.
Business Management Associates, 847 F.2d 1505, 1512 (11% Cir. 1988). In
Durham, in addition to the allegations of the Amended Complaint, the
Plaintiff/Appellees also submitted an affidavit. KK-PB asserts that the
Indictment and SEC Complaint provide a road map of the Matthews’
fraudulent scheme and details how the Matthews personally financially
enriched and benefited themselves from that scheme.

10. The District Court can consider documents attached to a

complaint where their authenticity is not challenged. McClure vs. Oasis

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Outsourcing, Inc., 674 Fed. App. X 873 (US 11" Cir. 2016). The Matthews’
Motion to Dismiss ignores the factual matters in the Indictment and SEC
Complaint, attached to the Crossclaims. In the present case, the Trial Court
can and should consider the matters set forth in both the Indictment against
Matthews and Evans, and the SEC Complaint against Matthews, which are
attached, as Exhibits to the Crossclaims. KK-PB asserts that, in addition to
the specific factual matters alleged in the Crossclaims, that the detailed
factual matters alleged in the Indictment and SEC Complaint meet the
heightened pleading requirements of Rule 9(b) where fraud is involved and
establish all of the elements needed to state a claim in each of KK-PB’s five
(5) crossclaims against the Matthews.

li. In the present case, the Crossclaims Introduction and Factual
Allegations Applicable to all KK-PB Claims, (DE 326-1, pg. 2) identifies
the who, Robert V Mathews and Maria S. Matthews; the when, August 30,
2013 and the various dates in the Indictment and SEC Complaint; and the
what, the business transaction for the acquisition of the Palm House Hotel
(Crossclaim, page 3, paragraphs 11 — 13 and 15. Crossclaim paragraphs 17
— 22 refer to the SEC Complaint and dissipation of funds intended for the

Palm House Hotel project for the Matthews’ personal financial benefit.

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KK-PB’s Count I - Claim for Fraudulent Inducement,
and
Count II - for Negligent Misrepresentation
state a claim for relief

 

12. It is KK-PB’s position that it has alleged all the necessary
elements for a claim of fraud in the inducement, which are:
a)  amisrepresentation of material facts;
b) that the representor knew or should have known of the
statements falsity;
c) that the representor intended that the representation
would induce another to rely on it; and,
d) that the Plaintiffs suffered injury.
Hillcrest Pacific Corp, vs. Yamachura, 727 So.2d 1053 (Fla. 4" DCA 1999),
13. The elements of a fraudulent misrepresentation claim are:
i) a false statement concerning a material fact;
ii) the representor’s knowledge that the statement is false;
iii) an intention that the representor induce another to act on
it; and,

iv) consequential injury to the plaintiff.

Arlington Pebble Creek, LLC vs. Campus Eda Condo, 232 80.3d 502 (Fla.
1* DCA 2017).

14. At page 3 of their Motion, the Matthews erroneously argue
KK-PB’s allegations are insufficient. KK-PB asserts that the detailed
factual matters KK-PB has alleged, paragraphs 5 - 7 in the Indictment;
allegations 8 — 16, and SEC Complaint allegations 17 - 24, which are
attached to the Crossclaims, along with the specific factual matters alleged

in Counts I and JJ, state a claim against the Matthews.

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KK-PB’s Crossclaims III and IV allege ail the elements
necessary to state a claim for Civil Conspiracy

15. The elements of a claim of Civil Conspiracy are:
a} an agreement between two (2) or more persons;
b) to do an unlawful and/or do a lawful act by unlawful
means;
c) doing some overt act in pursuit of the conspiracy; and,

d) damage to the plaintiff as a result of acts performed,
pursuant to the conspiracy.

Rey vs. Phillip Morris, Inc., 75 So.3d 378, 381 (Fla. 3 DCA 2011). The
Matthews totally disregard the matters alleged in the Indictment and SEC
Complaint and argue KK-PB has not sufficiently alleged the facts to
establish the elements of civil conspiracy.

16. The Matthews cite the August 31, 2018 Order in TIC Park
Centre, which KK-PB asserts is distinguished because T/C Park did not
include the detailed allegations KK-PB has made against the Matthews from
the Indictment and SEC Complaint.

17. The Matthews cite to Pierson vs. Orlando Regional Healthcare
Systems, 2010 WL1408391 (MD Fla. 2010) for what is required to be
alleged to state a civil conspiracy claim. The Matthews’ argument
disregards the matters alleged in the Indictment and SEC Complaint
incorporated into KK-PB’s Crossclaims. See Crossclaims paragraphs 11 —
15 and 22 — 23. The Crossclaims against Maria Matthews, paragraphs 52 —

54, allege the essential elements, and paragraphs 14, 15 and 21 — 23 of the

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Crossclaims allege the use of the Palm House Hotel funds for the purchase
of the vessel, the Alibi, which was beneficially owned by Maria and the use
of funds for the Casa Bendita mansion, resided in by Maria.
KK-PB’s Count V
Claim of aiding and abetting fraud against Maria S. Matthews
states a cause of action

18. The Court’s holding in ZP No. 54, Ltd. vs. Fidelity & Deposit

Co., 917 So.2d 368, 372 (Fla. 5" DCA 2005) is instructive on the elements

of a claim of aiding and abetting fraud. The elements are:

l. There existed an underlying fraud;
2. The Defendant had known of the fraud; and,

3. The Defendant provided substantial assistance to
advance the fraud.

19. The sole basis Maria Matthews asserts for dismissing Count V
is Maria Matthews erroneous assertion that the aiding and abetting claim
makes no allegations that Maria Matthews knew about the fraud. Maria
Matthews disregards paragraph 51 of the Crossclaims, which alleges Maria
Matthews “had knowledge of and aided and induced, for her financial
benefit, the fraud perpetrated by Robert Matthews on KK-PB.” Maria
Matthews disregards paragraphs 13 — 15 of the Crossclaims, from the
Indictment, as to Robert Matthews’ use of funds from the Palm House Hotel
project to purchase, for the benefit of Maria Matthews, as beneficial owner,

the vessel, the Alibi, along with the allegations in paragraph 23 of the

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Crossclaims, from the SEC Complaint, also dealing with the use of funds to
purchase the vessel, the Alibi, of which Maria Matthews was, based upon
the Indictment, the beneficial owner.
Conclusion

For the reasons set forth above, KK-PB requests this Court to deny

the Matthews’ Motion to Dismiss the Crossclaims, Counts I — V.

Respectfully submitted,

/s/_ Larry A. Zink
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CERTIFICATE OF SERVICE

The UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the
foregoing document was electronically filed with the Clerk of Court using the CM/ECF
system, on this }@ day of November, 2018 and that the foregoing document is being
served this day on all counsel of record identified on the Service List below, via
transmission of Notices of Electronic Filing generated by CM/ECF.

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Palm House PB, LLC

 

And all other Counsel

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